Case 3:17-cv-00072-NKM-JCH Document 1216-1 Filed 10/12/21 Page 1 of 2 Pageid#:
                                  20366



                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUNIZ, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, THOMAS BAKER and JOHN
   DOE,
                                                        Civil Action No. 3: 17-cv-00072-NKM
                      Plaintiffs,
   v.

   JASON KESSLER, et al.,

                      Defendants.

    [PROPOSED] ORDER SEALING EXHIBITS TO PLAINTIFFS’ MOTION TO DE-
     DESIGNATE CERTAIN DOCUMENTS DESIGNATED AS CONFIDENTIAL OR
                        HIGHLY CONFIDENTIAL

        WHEREAS, on October 12, 2021, Plaintiffs filed a Motion to Seal Exhibits to Plaintiffs’

 Motion to De-Designate Certain Documents Designated as Confidential or Highly Confidential

 (“Motion”) and did not publicly file the exhibits to that Motion (“Exhibits”), in accordance with

 the designations of those documents by certain Defendants as Confidential or Highly Confidential

 under the Order for the Production of Documents and Exchange of Confidential Information

 entered on January 3, 2018 (ECF No. 167).

        WHEREAS, Plaintiffs have provided an unredacted copy of these selected exhibits to the

 Court and moved, pursuant to Local Rule 9, for these exhibits to be sealed.

        IT IS HEREBY ORDERED that the Exhibits be sealed pursuant to Local Rule 9.
Case 3:17-cv-00072-NKM-JCH Document 1216-1 Filed 10/12/21 Page 2 of 2 Pageid#:
                                  20367



       Dated: _______________________

       SO ORDERED




                                        __________________________________
                                        Hon. Joel C. Hoppe, M.J.




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